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                    Exhibit A
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                            EXHIBIT
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                                     FmST AMENDEDAND RESTATED
                                   SOFTWAREOEMLICENSEAGREEMENT

                                                 (Object Code)


             This First Amendedand Restated SoftwareOEMLicenseAgreement("Agreement")is
      enteredinto as of December11, 1995, ("EffectiveDate") by and betweenPOET Software
      Corporation,a Massachusettscorporation,havingits principalplace of businessat 999 Baker Way,
      Suite 100, San Mateo, California94404 ("POET"),and EchelonCorporation,a Delaware
      corporationhavingits principalplace of businessat 4015 MirandaAvenue,Palo Alto, California
      94304 ("OEM"). This Agreementsupersedesthe SoftwareOEM LicenseAgreementbetweenthe
      partieshavingan effectivedate of December11, 1995(the "OriginalAgreement").

            In.considerationof the covenantsand conditionscontainedherein,the partiesagree as
      follows:


      l.               S
              DEFINIIIDN
             L1     "I.i1,ensed
                              Software" shallmeanthe computersoftwareprogramsidentifiedin
      ExhibitA attachedhereto, consistingof both DevelopmentKit Versionsand RuntimeVersions,in
      objectcode form, any relateddocumentation,includinguser documentation,providedwith such
      software,and any MaintenanceReleases(as definedin Section4.2(a)) and Upgrades(as definedin
      Section4.3) thereto providedto OEMunder this Agreement.

             1.2 "OEMApplications"      shallmeanthe computerproductsgenerallydescribedin
      ExhibitA, createdby or on behalfof OEM or its Sublicenseesand whichincorporatea Runtime
      Versionof the LicensedSoftwareand are sold under OEM'sor its Sublicensee'sname.

             1.3 "Bod-User"    shallmean a customerto whomOEM or one of its Sublicenseespennitted
      hereundersublicensesan OEM Applicationfor use by such customerfor commercial,industrial,
      consumeror similarpurposesin the regularcourseof such customer'sbusinessand not for resale. In
      the case of OEM'sdistributionof the OEM Applicationfor internaluse, OEM shallbe deemedthe
      End-User.

              1.4 "RuntimeVersion"shallmeana versionof the LicensedSoftwarefrom whichthe
      POET API has been removedand that is intendedto be incorporatedin an OEM Application,and
      whichwillincludethe POET ODBCDriversoftwareif OEM has paid the royaltyfor such driveras
      stated in ExhibitB. The ObjectServerdatabaseincludesthe followingDLLs: PT400N42.DLL,
      PTBS4N42.DLL,PTCM4N42.DLL(ProfessionalEdition),PTCM4N42.DLL(PersonalEdition),
      PTEX2N42.DLL,PTIN4N42.DLL,PTMEMN42.DLL,PTSERV32.EXEand PTTM7N42.DLL,and
      any successorDLLs to any of the foregoing. The ODBCDriverincludesthe followingDLLs:


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POETODBC.HLP,PTDRM32.DLL,PTOQ1N42.DLL,PTSIM32.DLL,PTSTP32.DLL,and
SIMSPY32.DLL,and any successorDLLsto any of the foregoing.

          1.5  "DevelopmentKitVersion"shallmeana versionof the LicensedSoftwarethat
containsall the componentsthat makeup the RuntimeVersionplus the componentslistedin 1.4
abovethat havebeen removedfromthe RuntimeVersionand that is intendedto be used by a
softwaredeveloperto create applicationsoftwareproductsincorporatingRuntimeVersionsof the
LicensedSoftware,suchas the OEMApplications.

      1.6 "Sublicensees''shallmeanthird partieswho are manufacturersof hardwareand/or
softwarewho distributeOEM'sproductsand contractwith OEMto distributethe OEM Applications.


2,        a&,ANTOFRIGHTS
       2.1 Li1iense.    Subjectto the terms and conditionsof this Agreement,POET grantsto OEM
a nonexclusive,nontransferable,worldwidelicenseto use DevelopmentKit Versionsof the Licensed
Softwareto createthe OEM Applicationsand to reproduceand distributethe OEM Applications
solelyin object code formatand for use by End-Users. OEMmaysublicenseto Sublicenseesthe
aboverightsto reproduceand distributethe OEM Applications,subjectto obtainingfrom its
Sublicenseeswrittenagreementsreasonablyrestrictingthe rights of such Sublicenseesto those
permittedhereunder. OEM and its Sublicenseesshallonlydistributethe LicensedSoftwareas
incorporatedin the OEM Applications,and shallnot directlyor indirectlylicensethe Licensed
Softwareas a stand aloneproduct,nor sublicensea third partyto do so, OEM mayinstalleach
licensedcopy of the ProfessionalEditionDevelopmentKit Versionon one networkat a time to be
used by one to four developers. OEMmayonlyallowone developerat a time to use each copy of
the PersonalEditionDevelopmentKit Versionlicensedhereunder.

        2.2    DistributionofOEMApplications.OEM and its Sublicenseesmayexercisetheir
respectiverightsto distributethe OEM Applicationsthroughsubdistributors,resellers,and other thl.rd
party distributors("Subdistributors")subjectto each such Subdistributorexecutinga written
agreementcontainingprovisionsgenerallyas restrictiveas those set forth in this Agreement
("SubdistributorAgreement").OEMwilluse commerciallyreasonableeffortsto ensurethat its
Subdistributorsabideby the terms of the SubdistributorAgreementsand, upon requestby POET, will
keep POET apprisedof its activitiesto enforcesuchprovisionswith particularSubdistributors.

       2.3 End-UserSub)jcenses        Each End-Usersublicenseof an OEM Applicationgrantedby
OEM or its Sublicenseesshallbe in the formof a shrinkwrap agreementcomparableto those
commonlyused in the computerindustry. OEM shallprovidePOET a copy of its standardform of
agreementto be used in grantingEnd•Usersublicensesto the OEMApplicationsand shallinform
POET of any revisionsto suchsublicen.ses  whichmateriallyimpactPOET's rightsor the protection
affordedthe LicensedSoftware. OEMmaymakereasonableamendmentsto its End-Useragreement
in order to meet the requirementsof its End-Users. OEM agreesto use commerciallyreasonable


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           effortsto enforcethe obligationsof its End-Useragreementsand to informPOET immediatelyof any
           knownbreachof such obligations.

                 2.4    Delivecy.The partiesacknowledgethat POET has delivereda copy of the
           ProfessionalEditionDevelopmentKit Versionto OEMand agreethat such copywill be licensedto
           OEMpursuantto this Agreement,whosetermswillsupersedeanyterms of a shrinkwrap license
           agreementdeliveredwith such software.

                  2.5 No OtherRights.      Exceptas expresslygrantedhereunder,POET grantsno license,by
           implication,estoppelor otherwiseto the LicensedSoftware. OEMmaynot copythe Licensed
           Software,exceptas necessaryto utilizethe licensesgrantedhereunderand exceptfor a reasonable
           numberof backupcopiesand maynot modifythe LicensedSoftware. OEM shallnot decompile,
           reverse-engineeror otherwiseattemptto deriveor modifythe LicensedSoftwaresourcecode, nor
           authorizeor pennit anythird party to do so, subjectto anyprohibitionof the foregoingrestrictions
           imposedby applicablelaw. Allrightsnot expresslygrantedto OEM are retalnedby POET or its
           licensors.

                  2.6     OEMCertjfication. OEMcertifiesthat it is licensingthe LicensedSoftwareas an
           originalequipmentmanufacturerandthat the OEMApplicationswillbe distributedby OEMwith
           significantvalueaddedto the LicensedSoftware(in the fonn of software),as part of an integrated
           systemor subsystemassembledby OEM,andin the regularcourseof OEM'sbusiness. Upon POET's
           reasonablerequest,OEM shallfurnishto POET evidenceof OEM'scompliancewith this Section2.6.


           3.        COMPENSATION
                     3.1      License
                                   Fees.For eachcopyof the DevelopmentKit Versionslicensedby OEM
           hereunder,OEM shallpayPOET the applicablelicensefee set forth in ExhibitB.

                     3.2 Rgya,lties.
                                   OEM shallpay royaltiesfor the ODBCDriverand for all copiesof the
           OEMApplicationsdistributedby OEMor reportedto OEMwith respectto distributionby its
           Sublicenseesin the amountsor at the rates and at the timesspecifiedin Ex:hibitB.

                   3.3    ReportsandAuditRights.OEMshallmakewrittenreportsin a form reasonably
           acceptableto POET of the copiesof OEMApplicationsdistributedandgrant audit rightsto POET as
           set forth in ExhibitB.


           4.        MAINTENANCE

                  4.1     Supportfor OEM Applications.OEMagreesthat it shallbe responsiblefor
           supportingits SublicenseesandEnd-Usersof the OEMApplications.OEMwilltake reasonablesteps
           to ensurethat questionsregardingthe use or operationof the OEMApplicationsare addressedto and
           respondedto by OEM, and OEMwillnot representto anythird partythat POET is availableto

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      answerany customerquestionsdirectly, POET shallrefer any customerservicequestionsrelatingto
      the OEM Applicationsto OEM.

              4.2     IechnicalSupportIn considerationof paymentof the applicabletechnicalsupport
      fees as set forth in ExhibitB, POET will providetechnicalsupportservices("TechnicalSupport")to
      OEMfor the DevelopmentKit Versionsand RuntimeVersionslicensedhereunderas specifiedbelow:

                     (a)     Error Corrections·MaintenanceReleases POET shalluse its commercially
      reasonableeffortsto correctany reproducibleprogrammingerrors identifiedin the LicensedSoftware
      and shallissue error-correctionand minorupdatereleasesof such software("MaintenanceReleases")
      in accordancewith the terms set forth in ExhibitC, with a levelof effortcommensuratewith the
      severityof the error, providedthat POET shallhaveno obligationto correct all errors in the Licensed
      Software. Upon identificationof any programmingerror, in the LicensedSoftware,OEM shallnotify
      POET of sucherror and providePOET with suchinformationas OEM reasonablyhas availableto
      assistPOET in locatingthe error.

                    (b)    Teli:phonicandElectronicSupport.POET additionallyshallprovideOEM
      with reasonablesupport,both telepbonicallyand electro.nically
                                                                 in accordancewith POET'spublished
      TechnicalSupportpolicies,whichare set forth in ExhibitC, with regardto the use and operationof
      the LicensedSoftwarefor the purposeof assistingOEMto supportthe OEM Applications.
      Additionalsupport,includingconsultation,maybe madeavailableupon request at POET'sthen
      currenttenns and rates.

             4.3 Upgrades. POET willmakeUpgradesto the DevelopmentKit Versionsand Runtime
      Versionslicensedhereunderavailableto OEMfromtimeto time if and when availablein
      considerationfor paymentof the applicableUpgradechargesas set forth in ExhibitB. POET shall
      not be obligatedto provideUpgrades;however,if it providesUpgradesto others,it shallmake such
      Upgradesequallyavailableto OEM. Upon delivery,Upgradesshallbe deemedto be part of the
      LicensedSoftware. OEM maydistributethe OEMApplicationsincorporatingUpgradesof the
      RuntimeVersionsto its Sublicenseesand End-Users,subjectto its acceptanceof suchUpgradesand
      paymentof the requiredchargespursuantto ExhibitB. No chargeshallbe assessedby POET against
      such Sublicenseesand End-Usersin connectionwith the Upgrades."Upgrades",as used in thi.s
      Agreement,meansnew releasesof the LicensedSoftwarethat increasethe functionalityor
      perfonnanceof the LicensedSoftwareaboveand beyondcorrectingerrors.


      5.      LIMITED
                    WARRANTY
              5.1 Warranties.    POET warrantsto OEMthat, for a periodof thirty(30) daysfromthe
      date of deliveryof the LicensedSoftware,the mediaon whichthe LicensedSoftwareis furnished
      will,under normaluse, be free from defectsin materialand workmanship.




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       5.2 Warranty      of Authority.POET warrantsthat it has the right and power to grant the
licensesgrantedOEM hereunderand that, after due inquiry,it is unawareof any infringementor
misappropriation,or potentialinfringementor misappropriation,of the patent, copyright,trade
secretsor other intellectualpropertyrightsof anythird partyby the LicensedSoftwareor by the
licensesgrantedhereunder. "Dueinquiry"as used in this Section5.2 shallnot includea patent search.

         5.3       DisclaimerEXCEPTAS SPECIFICALLYWARRANTEDABOVE,THE
LICENSEDSOFTWAREIS PROVIDED"ASIS," ANDPOET MAKESNO OTHER
WARRANTIES,EXPRESS,IMPLIED,STATUTORYOR OTHERWISE,WITH RESPECTTO
ANY SUCHMATERIALS,ANDPOET SPECIFICALLYDISCLAIMSANY IMPLIED
WARRANTIESOF MERCHANTABILITY,    FITNESSFOR A PARTICULARPURPOSEOR
NONINFRINGEMENT.POETDOESNOT WARRANTTHATTHE LICENSEDSOFTWARE
WILLMEET OEM'SOR ITS OR ITS SUBLICENSEES'END-USERS'REQUIREMENTS,THAT
THE OPERATIONOF THE LICENSEDSOFTWAREWILLBE UNINTERRUPTEDOR ERROR
FREE, OR TiiAT DEFECTSIN THE LICENSEDSOFTWAREWILLBE CORRECTED.
FURTHERMORE,POET DOESNOT WARRANTOR MAKEANYREPRESENTATIONS
REGARDINGTHE RESULTSOF THE USE OF THE LICENSEDSOFTWAREIN TERMSOF
CORRECTNESS,ACCURACY,RELIABILITYOR OTHERWISE.


6.       TERMANDTERMINATION
        6.1 Imu. ThisAgreementshallcommenceupon the EffectiveDate and shallcontinuein
force, unlessterminatedearlierunder the terms of this Section6.

       6.2     Tennination. ThisAgreementmaybe terminatedby eitherpartyupon.notice, if the
other party breachesany materialterm or conditionof this Agreementand failsto remedythe breach
withinthirty (30) daysafter beinggivennoticethereofor, in the event suchbreachis not reasonably
susceptibleof cure withinthirty (30) days, suchlongerperiodas is reasonablynecessary.

       6.3 Terminationfor Convenience.     OEMmaytenninatethis Agreementfor convenience
upon sixty(60) daysprior writtennoticeto POET. Additionally,OEMmayterminatethis Agreement
for convenience,immediatelyupon notice,prior to the first commercialreleaseof any OEM
Application.

       6.4 Effectof Termination In the eventthis Agreementis terminated,OEM'srightsto
distributethe OEM Applicationsunderthis Agreementand its rightsto authorizeothers to use and
distributethe OEM Applicationsshallbe tenninated;provided,however,that (i) each End-User's
rightto use OEM Applicationspreviouslylicensedto it by OEM or its Sublicenseesshallsurvive,and
(ii) OEM, its Sublicenseesand Subdistributorsmaycontinueto distributeOEM Applicationsin
inventoryas of the date of terminationof this Agreement,subjectto OEM'spaymentofthe royalties
applicableto suchdistribution. Subjectto the terms of this Section6.4, withinthirty (30) daysafter
the terminationof this Agreement,OEMwillprepareall copiesof the LicensedSoftwareand other
POET materialsprovidedhereunderin OEM'spossessionor controlfor shipmentto POET and return

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 them to POET, or destroysuchmaterialsas POET maydirect. Uponterminationofthis Agreement,
 neitherparty willretainanycopiesof anyConfidentialInformationwhichmayhave:beenentrustedto
 it by the other party and, withinthirty(30) daysof the effectivedate of terminationanofficerof each
 party shallcertifyto the other partythat all copiesof ConfidentialInformationof the other party
 receivedhereunderhavebeen returnedor destroyed.Notwithstandingthe foregoing,OEM may
 retainone (1) copy of each editionandversionof the LicensedSoftwareused or distributedby OEM
 in conjunctionwith OEMApplicationsandrelateddocumentationat:1d         mayuse suchmaterials
 internallyas is necessaryto supportits Sublicenseesand/orinstalledEnd-Userbase!andmaycontinue
 to receiveTechnicalSupportand all other error correctionssuppliedby POET to its other licensees
 for the benefitof Sublicenseesand/orEnd-Usersexistingas of the date ofterminatibnof this
 Agreement,upon paymentof the applicablefees as providedin ExhibitB, part 5. If such error
 correctionsare not availableindependentlyof Upgradesmadeavailableby POET, then POET will
 supplysuchUpgrades,and OEM shallhavethe rightto distributesuchUpgradest◊ Sublicensess
 and/orEnd-Usersexistingas of the date oftenninationof this Agreement,providedthat OEMpays
 POET the applicableroyaltiesfor suchUpgrades.

        6.5 Limitation.In the eventoftenninationby eitherparty in accordancewith anyof the
 provisionsof this Agreement,neitherparty shallbe liableto the other becauseof suchtermination,for
 compensation,reimbursementor damagesot:1accountof the loss of prospectiveprc;,fits or anticipated
 salesor on accountof expenditures,inventory,investment,leasesor commitmentsin connectionwith
 the businessor goodwillof POET or OEM. Tenninationshallnot, however,relieveeitherparty of
 obligationsincurredpri.orto the termination.

         6.6    Swviva)ofProyjsjons. The provisionsof Sections2.6, 3, 4.1, 5, 6.4, 6.5, 6.6, 7, 8, 9,
 10 and 11 and the relevantprovisionsof Sections1 and 12 shallsurvivethe tenninationof this
 Agreementfor any reason. All other rightsand obligationsof the partiesshallceaseupon termination
 of this Agreement.


 7.       PRQPERTY
                 RIGHTS
          7.1 PropertyRi!lhts. OEMacknowledgesand agreesthat, as betweenbEM and POET,
  POET ownsall right,title, and interestin the LicensedSoftwarenow or hereaftersubjectto this
  Agreement,and in all of POET's patents,trademarks,trade names,copyrights,and trade secrets
  relatingto the design,manufacture,marketing,operationor serviceof the License.cl
                                                                                 Software. The
  use by OEMof any of these propertyrightsis authorizedonlyfor the purposeshetein set forth and
••upon terminationof this Agreementfor anyreasonsuchauthorizationwillcease,iiubjectto the
  provisionsof Section6.4.                                                     I


        7.2 PmprietazyNotices OEM shallnot removeand shallinstructits Sublicenseesnot to
 remove,any copyrightnoticesor proprietarylegendscontainedwithinthe Licens~dSoftware. OEM
 agreesto indicatein OEM'sdocumentationfor the OEM Applicationsthat such product contains
 copyrightedmaterialof OEM.                                               •


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               8.        CONFIDENTIAL
                                   INFORMATION.
                      8.1 Definition.As used in this Agreement,the tenn "ConfidentialInformation"shallmean
               any informationdisclosedby one partyto the other pursuantto this Agreementwhichis in written,
               graphic,machinereadableor other tangibleformand is marked"Confidential","Proprietary"or in
               someother mannerto indicateits confidentialnature. ConfidentialInformationmay also includeoral
               informationdisclosedby one party to the other pursuantto this Agreement,providedthat such
               informationis designatedas confidentialat the time of disclosureand is reducedto a written summary
               of ConfidentialInformationby the disclosingparty,whichsummaryis marked"Confidential,"
               "Proprietary"or in someother mannerto indicateits confidentialnature and deliveredto the receiving
               party withinthirty (30) days afterits oral disclosure.Notwithstandingthe foregoing,the Licensed
               Softwareshallbe deemedthe ConfidentialInformationof POET withoutthe necessityof marking;
               provided,however,that any OEM Applicationincorporatingthe LicensedSoftwareshallnot be
               deemedto be ConfidentialInformation.

                       8.2 (Amera!.Each party shalltreat as confidentialall ConfidentialInformationof the other
               party, shallnot use suchConfidentialInformationexceptas expresslyset forth hereinor otherwise
               authorizedin writing,shallimplementreasonableproceduresto prohibitthe disclosure,unauthorized
               duplication,misuseor removalof the other party'sConfidentialInformationand shaltnot disclose
               suchConfidentialInfonnationto anythird party, exceptas maybe necessaryand requiredin.
               connectionwith the rights and obligationsof suchpartyunderthis Agreementand subjectto
               confidentialityand nonuseobligationsat least as protectiveas those set forth herein. Withoutlimiting
               the foregoing,each of the partiesshalluse at least the sameproceduresand degreeof care whichit
               uses to preventthe disclosureofits own confidentialinformationof like importanceto preventthe
               disclosureof ConfidentialInformationdisclosedto it by the other partyunder this Agreement,but in
               no eventless than reasonablecare. The partiesfurtheragreeto keep confidentialthe terms and
               conditionsof this Agreement.

                      8.3 Exci:ptions.Notwithstandingthe above,neitherparty shallhave liabilityto the other
              with regard to any ConfidentialInformationof the other which: (i) was generallyknownand
              availablein the publicdomainat the timeit was disclosedor becomesgenerallyknownand available
              in the publicdomainthroughno fault of the receiver;(ii) was knownto the receiverat the time of
              disclosureas shownby the filesof the receiverin existenceat the time of disclosure;(iii)is disclosed
              withthe prior writtenapprovalof the discloser;(iv) was independentlydevelopedby the receiver
              withoutany use of the discloser'sConfidentialInformationand by employeesor other agents of the
              receiverwho havenot been exposedto suchConfidentialInformation;(v) becomesknownto the
              receiverfrom a source other than the discloserwithoutbreachof this Agreementby the receiverand
              otherwisenot in violationof the discloser'srights;(vi) is intentionallyreleasedor disclosedby the
              discloserwithoutrestrictionon furtherdisclosure;or (vii)is requiredto be disclosedby law (provided
              that, prior to such disclosure,the receivershallprovidepromptnoticethereof to the discloserto
              enablethe discloserto seek a protectiveorder or otherwisepreventeach disclosure,and, further, shall
              take reasonablestepsto limitthe breadthof suchdisclosure).



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                         8.4   J;:mpJoyee
                                       Agreements.
                                                Each partyshallobtainthe executionof non-disclosure
              agreementswith its employees,agentsand consultantshavingaccessto ConfidentialInformationof
              the other party, and shalldiligentlyenforcesuch agreements.


              9.         BACK-UP
                               SOURCE
                                    CODELICENSE.
                      9.1 SourceCodeEscrow.POET agreesto depositthe computersoftwareprograms
              identifiedin ExhibitA attachedhereto,in sourcecode form (the "SourceMaterials"),into escrow
              with an escrow agentupon the terms and conditionsset forth in ExhibitD (the "EscrowAgreement").
              In the event ("TriggeringEvent")POET (or its successorsor assigns)failsto supportor maintainthe
              LicensedSoftwareas providedin this Agreement,where suchfailurehas continuedfor thirty (30)
              days after OEM has givenwrittennoticethereofto POET, and if OEM is not then in materialbreach
              of this Agreement,OEM mayobtainreleaseof the SourceMaterialspursuantto the source code
              escrowagreementwith the escrowagentand use thempursuantto the licensegrantedin Section9.2.
              below. By the tenns of the escrowagreement,OEM shallhavethe rightto releaseof the Source
              Materialsupon presentationof a certificateof an officerof OEM statingthat a TriggeringEvent has
              occurred. If POET disputesthe occurrencesof a TriggeringEvent,POET shalldeliverto OEM a
              noticeof suchdispute,and the partiesshallsubmitsuchdisputeto arbitrationunder the Commercial
              ArbitrationRules of the AmericanArbitrationAssociationby three (3) arbitratorsappointedin
              accordancewi.thsuchrules and subjectto the followingadditionalconditions: Such arbitrationshall
              commencewithinten (10) daysof OEM'sreceiptof POET'snotice of dispute,and the only question
              for the arbitrators'considerationshallbe whetheror not a TriggeringEvent occurredprior to OEM's
              notificationthereofto the escrowagent. The partiesshalleachbear one-halfof the expensesof the
              arbitration,exceptthat if the arbitratorsdeterminethat a TriggeringEvent did not then occur, OEM
              shallpay or reimbursePOET for POET'sone-halfof the arbitrationexpenses. The partiesshall
              ensurethat the escrowagreementincludethe foregoingterms.inthis Section9. 1. If the arbitrators
              decidein favor of POET, OEM shallimmediatelyreturn the SourceMa:teri.als    to the escrowagent and
              shallnot retain any copiesthereof If OEM returnsall materialsas requiredhereinand pays such
              arbitrationfees, then OEM shallnot be liableto POET for any infringementfor use of the Source
              Materialsduringthe periodafter they were wrongfullyobtained,as determinedby the arbitrators.
              OEM agreesto pay to POET $1,000for escrowset up costs and $500 annuallyfor maintenanceof
              OEM as a beneficiaryunderthe EscrowAgreement,with paymentsto be madeby POET to the
              escrowagent at timescalledfor in the Escrow Agreement

                      9.2    somceCode License    andGrantBack.Subjectto the tenns and conditionsof this
              Agreement,POET herebygrantsOEM a nonexclusive,nontransferablelicenseto use, modifyand
              create derivativeworks of the SourceMaterialssolelyfor the purposeof exercisingits rightsto
              distributeobjectcode copiesof the OEMApplicationspursuantto the licensegrantedunder
              Section2 above and supportingits Sublicenseesand End-Usersof the OEM Applications.OEM
              agreesnot to exercisethis licenseunlessand untilthe occurrenceof a TriggeringEvent. Title in all
              SourceMaterialswill remainin POET. In case of exerciseof the licensegrantedto OEM in this
              Section9.2, OEM agreesto grant and does herebygrantPOET a non-exclusive,worldwide,
              perpetual,irrevocable,royalty-free,fullypaid right and licenseto copy,use, modify,create derivative


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              work of and distributeand sublicen.se
                                                  all modificationsand derivativeworks of the SourceMaterials
              createdby or for OEM and modificationsand derivativeworks thereofcreatedby or for POET.

                      9.3   ThjrdParty Accessto SourceMaterials.If a Sublicenseerequiresof OEM that the
              SourceMaterialsbe placedin escrowin connectionwith an escrowarrangementplacingOEM's
              proprietarysoftwaresourcecode for an OEM Applicationin escrow,OEM mayrequest of POET
              that the SourceMaterialsfor suchOEM Applicationbeingheldfor OEMbe also held in POET's
              escrow accountfor the benefitof such Sublicenseeand be madeavailablefor use by such Sublicensee
              on the followingconditions:(i) such Sublicenseehas obtainedout of escrowOEM'sproprietary
              sourcecode for such OEM Applicationand (ii) such Sublicenseerequiresmaintenanceof the
              LicensedSoftwarefor such OEM Applicationand POET has refusedor failedto providesuch
              maintenancefor such Sublicenseein a timelymanner. POET'sconsentto enteringinto such an
              escrowarrangementwith such Sublicenseewillnot be unreasonablywithheld.


              10.      TNTETJ
                           ,ECTJJAL
                                  PROPERTY
                                         INDEMNITY
                       10.1 Indemnjfication    byPOET, OEM ag.reesthat POET bas the right to defend,or at its
              optionto settle, and POET agrees,at its own expense,to defendor at its optionto settle, any claim,
              suit or proceedingbroughtagainstOEM, and POET agreesto pay, subjectto the limitations
              hereinafterset forth, any finaljudgmententeredagainstOEMor its customerson such issue in any
              such suit or proceeding,allegingthat use of the LicensedSoftwareor distributionof the Licensed
              Softwareas part of any OEM Applicationas contemplatedhereunderinfringesor misappropriatesany
              U.S. or Germanpatent or any copyright,trade secret,or trademark,(collectively,"Intellectual
              PropertyRight")of any third party, subjectto the limitationshereinafterset forth. OEM agreesthat
              POET, at its sole option,willbe relievedof the foregoingobligationunlessOEM (i) notifiesPOET
              promptlyin writingof suchclaim,suit or proceeding,(ii) providesPOET with sole controlof any
              such action or settlementnegotiations(provided,however,that POET shallobtainOEM'sconsent,
              whichwill not unreasonablybe withheld,p.riorto effectingany settlementwhichimpactsOEM's
              rightshereunder),and (iii)givesPOET authorityto proceedas contemplatedherein,and, at POET's
              expense,givesPOET proper and reasonableinformationand assistanceto settle and/or defendany
              suchclaim,suit or proceeding, If it is adjudicativelydetermined,or if POET believesit maybe
              determined,that the LicensedSoftwareinfringesany IntellectualPropertyRight,then POET may,at
              its option: (i) procurefor OEMthe rightunder suchIntellectualPropertyRightto use suchLicensed
              Softwareand to use and distributesuchOEM Applicationas contemplatedherein;(ii) replacethe
              LicensedSoftwarewith other functionallyequivalentsoftware;or (iii)modifythe LicensedSoftware
              so that it is no longerinfringing.POET willnot be liablefor any costs or expensesincurredwithout
              its prior written authorization.

                     10.2 IJmitatjon  on POET'sLiability.Notwithstandingthe provisionsof subsection10.1
              above,POET assumesno liabilityto the extentsuchclaimsare based on (i) combinationof the
              LicensedSoftwarewith softwareor hardwarenot providedby POET (if the infringementwould have
              been avoidedby use of the LicensedSoftwarealone);(ii) anymarkingor brandingnot appliedby
              POET or involvingany markingor brandingapp.liedat the requestof OEM; or (iii) any modification




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            of the LicensedSoftware,or any part thereof,unlesssuchmodificationwas madeby POET (if the
            infringementwould haveben avoidedwithoutsuchmodification).

                     10.3 IndemnificationbyOEM POET agreesthat OEM has the right to defend,or at its
            optionto settle, and OEM agrees,at its own expense,to defendor at its optionto settle, any claim,
            suit or proceedingbroughtagainstPOET, and OEM agreesto pay, subjectto the limitations
            hereinafterset forth, anyfinaljudgmententeredagainstPOET on suchissuein any such suit or
            proceeding,allegingthat use of any OEMApplicationor distributionof any OEM Application
            Infringesor misappropriatesany IntellectualPropertyRight of anythird party, subjectto the
            limitationshereinafterset forth. POET agreesthat OEM, at its sole option,will be relievedof the
            foregoingobligationunlessPOET (i) notifiesOEMpromptlyin writingof such claim,suit or
            proceeding,(ii) providesOEMwith sole controlof any suchactionor settlementnegotiations
            (provided,however,that OEM shallobtainPOET'sconsent,whichwill not unreasonablybe withheld,
            prior to effectingany settlementwhichin1pactsPOET'srights hereunder),and (iii)gives OEM
            authorityto proceedas contemplatedherein,and, at OEM'sexpense,givesOEMproper and
            reasonableinformationand assistanceto settleand/ordefendany suchclaim,suit or proceeding. If it
            is adjudicativelydetermined,or if OEMbelievesit maybe determined,that the OEM Application
            infringesany IntellectualPropertyRight,then OEMmay,at its option,terminatethis Agreement
            upon noticeto POET. OEMwillnot be liablefor any costs or expensesincurredwithoutits prior
            written authorization.

                   10.4 IJmitatjon  on OEM's  I,iahiljty_Notwithstandingthe provisionsof subsection10.3
            above,OEM assumesno liabilityto the extent suchclaimsrelateto (i) the LicensedSoftware
            (including,withoutlimitation,the RuntimeVersionsthereof);or (ii) any markingor brandingapplied
            by POET and not appliedat the specificrequestof OEM.

                 10.5 ENTIRE         THE FOREGOINGPROVISIONSOF nus SECTION10
                            LJABII,JTY.
            STATETHE ENTIRELIABILITYANDOBLIGATIONSOF EACHPARTY,AND THE
            EXCLUSIVEREMEDYOF THE OTHERPARTY,WITHRESPECTTO THE INFRINGEMENT
            OF ANYPATENT,COPYRIGHT,TRADEMARK,TRADESECRETOR OTHER
            INTELLECTUALPROPERTYRIGHTBY THE TRANSACTIONSCONTEMPLATED
            HEREUNDER.


            11.       LIMITED
                            LIABILITY
                 EXCEPTAS PROVIDEDIN SECTIONS8 AND 10, THE LIABILITYOF EACHPARTY
            ARISINGOUT OF TIBS AGREEMENT,THE TERMINATIONTHEREOF,AND/ORTHE
            PROVISIONOF GOODSOR SERVICESHEREUNDERWILLBE LIMITEDTO THE
            AMOUNTPAID BY OEMHEREUNDER IN NO EVENTWILLEITHERPARTYBE LIABLE
            TO THE OTHEROR ANYOTHERENTITY(EXCEPTAS PROVIDEDIN SECTIONI 0) FOR
            LOSS OF DATA, COSTSOF PROCUREMENTOF SUBSTITUTEGOODSOR SERVICESOR
            ANY SPECIAL,CONSEQUENTIALOR INCIDENTAL DAMAGES,UNDERANY CAUSEOF
                                           CT, TORT(INCLUDINGNEGUGENCE),
            ACTION,WHETHERFORBREACHOF CONTRA.IO-                                                             .   •i,·
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     OR OTHERWISE, AND WHETI-IEROR NOT SUCH PARTY OR ITS AGENTS HAVE BEEN
     ADVISED OF THE POSSIBILITY OF SUCH DAMAGE. THIS LlMITATION WILL APPLY
     NOTWITHSTANDING ANY FAlLURE OF ESSENTIAL PURPOSE OF ANY LIMITED
     RE:MEDY
           PROVIDED HEREIN.

              THE FOREGOING WlLL NOT AFFECT EITI-IERPARTY1SLIABILITY, IF ANY, THAT
      MAY BE IMPOSED BY LAW WITII RESPECT TO CONTRIBUTION ORINDEMNITY FOR
      Tfl'.IRDPARTY CLAIMS FOR PERSONAL INJURY, DEATH OR PHYSICAL DAMAGE TO
      PROPERTY.


      12.    MISCELLANEOUS
             12.1 Qayeminc Law. This Agreement shall be governed by and interpreted in accordance
     with the lawsof California withoutreferenceto conflictof laws principles.

             12.2 Assignment. Except in the event of a sale of substantiallyall of its a.ssetsto which this
     Agreement relates or in the event of a merger or acquisition and providedthe assigneeagrees in
     writing to be bound by all the terms and conditions of this Agreement; OEM may not assign or
     delegate this Agreement or any of its licenses, rights or duties under this Agreement, directly or
     indirectly, by operation oflaw or otherwise, mthout the prior written consent of POET, which shall
     not unreasonablybe withheld. Any such attempted assignment or delegation shall be void. Except as
     provided above, this Agreement shall inure to the benefit of each party1s successors and assigns.

              12.3 Authority.Each party represents that all corporate action necessaryfor the
      authorization, execution and delivery of this Agreement by such party and the performance of its
      obligationshereunder has been taken.

             12.4 1:futices.  All notices and other communications    required or permitted hereunder shall
     be in writing and shallbe mailed by registered or certified mail, postage prepaid, or delivered by hand,
     by messenger or by facsimile, addressed to the addresses first set forth above or at such other address
     with which the other party has been furnished with a notice in the manner set forth herein, Such
     notices shall be deemed to have been served when received.

              12.5 FactialInvalidity.   If anyparagrap~ provision, or clause thereofin this Agreement
     shall be found or be held to be invalid or unenforceable in anyjurisdiction in which this Agreement is
     being performed, the remainder of thls Agreement shall be valid and enforceable.

             12.6 Countewarts.This Agreement may be executedin two (2) counterparts, which, taken
     together, shall be regarded as one and the same instrument

               12.7 Waiver.The failure of either party to enforce at any time the provisions of this
      Agreement shall not be considered a present or future waiver of such provisions, nor in any way
      affect the ability of either party to enforce each and every such provision thereafter.

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         12.8 IndependentContractors The relationshipof POET and OEMestablishedby this
Agreementis that of independentcontractors,and nothingcontainedin this Agreementshallbe
construedto constitutethe partiesas partners,joint venturers,co-ownersor otherwiseas participants
in a joint or commonundertaking,or alloweitherpartyto create or assumeanyobligationOP behalf
of the other. All:finapcial
                         obligationsassociatedwith a party'sbusinessare the soleresponsibilityof
suchparty.

        12.9 Import andExport Contro)s. Anyand all obligationsof POET to providethe Licensed
Software,as well as anytechnicalassistance,will be subjectin all respectsto suchUnitedStateslaws
and regulationsas willfromtime to time governthe licenseand deliveryof technologyandproducts
abroadby personssubjectto the jurisdictionof the UnitedStates,includingthe Export Administration
Act of 1979,as amended,any successorlegislation,andthe Export AdministrationRegulationsissued
by the Departmentof Commerce,BureauofEx.portAdministration.OEM agreesthat it willnot
export or re-exportthe LicensedSoftwareexceptin compliancewith all such exportlaws and
regulations.

       12.10 EntireAgreementThe termsand conditionshereincontained,includingthose in
ExhibitsA, B, C andD, whichare herebyincorporatedhereinby reference,constitutethe entire
agreementbetweenthe partiesand supersedeall previousagreementsand understandings,including
the OriginalAgreement,whetheroral or written,betweenthe partiesheretowith respectto the
subjectmatter hereof,and no agreementor understandingvaryingor extendingthe same shallbe
bindingupon eitherparty heretounlessin a writtendocumentsignedby the partyto be bound
thereby.

        12.11 forceMrueureNonperformanceof eitherparty,exceptthe paymentof money,shall
be excusedto the extentthat performanceis renderedimpossibleby strike,fire, flood,governmental
acts or orders or restrictions,failureof suppliers,or anyother reasonwherefailureto performis
beyondthe reasonablecontrolof and is not causedby the negligenceof the nonperformingparty.

       12.12 IN WITNESSWHEREOF,the partiesheretohave causedthis Agreementto be
signedby duly authorizedofficersor representativesas of the date first abovewritten.


POET SOFTWARECORPORATION                          ECHELONCORPORATION




                                                  Title:-..i:cv_;P_i;__.;;.a,.__:p_o
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                                                         EXHIBITA

                                             LICENSEDSOFTWAREAND
                                                  OEMAP.PLICATION

           LICENSEDSOFTWARE:

           1.     DevelopmentKit Versionin the followingeditions(someofwhlch are not yet commercially
           released):

                    Client- Qm:111tingS)mm              POET                 ssrur- Qperotins
                                                                                           !iymm
             Windows®NT                      Professional        WindowsNTillldWindows'95

             Windows'95                      Professional        WindowsNTand Windows'95

             WindowsNT                       Personal            Window.NT and Windows'95

             Windows"9S                      l'ersoMI            Window,NT lllldWindows'95


           2.     RuntimeVersionsof the abovesoftwareeditionsfor distnbutionto third parties,which
           includePOET administrativeutilitiesandPOETruntimeserverversions,

           3.        RuntimeVersionsof POET'SODBCDriverSoftware

           OEMAPPLICATIONS:

                     The OEMApplicationsincludetools fur use in, with or for LonWorksnetworks,




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                                                     EXHIBITB

                       LICENSE
                             EfiES,ROYALIIE.$
                                           AND$JTPPQRT
                                                     CHARGES

1.      LICENSEFEESFOR COPIESOF THE POETDEVELOPMENTKIT VERSION
        LICENSEDBY OEM:


         A. ·elilfessional
                       Edition
     CU•n•• 91!",..tJng
                      System                Editiml           Semr • Qpcr11llng
                                                                             SJ,$1cm
 WindowsNTMd 95                    Professional&IWon        WindowsNT
                                                                    and 95                   $5,000


      The partiesacknowledgeOEM'spaymentin fullfor one copy of the ProfessionalEditionof
the DevelopmentKit Version. Additionalcopieswillbe licensedat the per copyfee listedabove.

        B Personal
                Edjtio11
                      (Mu)tj-Tasking
                                 StandAloneedition)

     Cljont- QperollngSptem                 Edition           Server
                                                                   ..Omrating
                                                                            Sr&tom          Fer
 Window1NT
         and95                     PersonalEdition          WindowsNT
                                                                    and95                     $998


2.       ROYALTIESFOR OEMAPPLICATIONSDISTRIBUTEDBY OEM:

        A         EditionsWhichMayBeIncorporated
                                              inOEMApplicatiQns
                                                             andDefinitions
       OEM maydistributeOEM Applicationsincorporatingthe RuntimeVersionsof the Personal
Editionand/orthe ProfessionalEditionas providedin this Section2(A).

       As used in this ExhibitB, "OEM'sGrossRevenues"shallmeanthe total revenuesreceivedby
OEMwith respectto distributionof copiesof the applicableOEM Applicationor Upgrade,including
royaltiesor other fees receivedby OEM from Sublicenseeswith respectto suchdistribution,less
freight,salesrebates,salescommissions,salescredits,in!lurance,trucesand other governmental
chargesor withholding(to the extentincludedin suchrevenues),and creditsissuedby OEM to its
customerswhichwere attributableto prior salesor licensesof OEM Applicationsupon which
royaltieswere paid.

        As used in this ExhibitB, "DevelopmentTools" shallmeanthe OEM Applicationscomprising
the softwaredevelopmenttools licensedby OEMto third partiesset forth on ExhibitB-1, as such
Exhibitmaybe modifiedfromtimeto timeupon POET'Sconsent. POET agreesnot to unreasonably
withholdits consentto the additionof softwaredevelopmenttools to ExhibitB-1, providedsuch
developmenttools are reasonablysimilarin fu.nctionor purposeto those developmenttools then
listed. "Multi-UserDevelopmentTool" shallmeana DevelopmentTool whichuses the client/server
architectureand standardcomputernetworkprotocolsincludedin the ProfessionalEdition. 11Single-
User DevelopmentTool" shallmean a DevelopmentTool whichdoes not implementthe client/server

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functionalityof the ProfessionalEditionor whichincorporatesthe RuntimeVersionof the Personal
Edition.

        As used in this ExhibitB, a "Class"B"Machine"shallmeana computerrunningone or more
of the operatingsystemsset forth on ExhibitB-2, or equivalentsof the foregoingplatforms.

         B.        Royalties
                           Pwle WjthRespectto OEMsPistdbution
                                                            ofDevelopment
                                                                       Tools

         i.        Single•J
                         /serDevelopment
                                      Toot
       OEM shallpay a per copy royaltyof$130 for eachcopy ofa Single-UserDevelopmentTool
(i) whichincorporatesRuntimeVersionsof the PersonalEditionor ProfessionalEdition;and (ii)
whichis licensedfor use on a Class"B"Machine,until suchtime as the first royaltyadjustmentin
accordancewith Section2(E) is effected,at whichtime OEM'sper copy royaltyshallbe the
applicablepercentage(determinedin accordancewith Section2(E)) of OEM'sGrossRevenues
receivedfrom licensingthe copy of anyOEMApplicationincorporatedwithinsuchDevelopment
Tool). In the eventOEM electsnot to chargea licensefee for a Single-UserDevelopmentTool and
the paymentdue hereunderis to be calculatedbasedupon OEM's GrossRevenues,the paymentshall
be basedupon OEM's normaland customaryGrossRevenuesfor the affectedproduct. In the eventa
Single-UserDevelopmentTool is bundledfor saleor licensewith other productsor applications,the
royaltyshallbe basedonlyupon those GrossRevenuesattributableto the Single-UserDevelopment
Tool.

         ii.       Multi-llser
                             Development
                                      Too!.
       OEM shallpay a per copy royaltyof$350 for eachcopy of a Multi-UserDevelopmentTool
(i) whichincorporatesRuntimeVersionsof the ProfessionalEdition;and (ii) whichis licensedfor use
on a Class "B"Machine.

         C.        Royalties
                           PayableWithRespectto OEM'sDistribution
                                                               of AllOtherOEMApplications
                   Incm:poratiog
                              Runtime Versions
               i.     Persona) EditionandProfessionalEdjtjon The royaltiespayableto POET for
OEM ApplicationsincorporatingRuntimeVersionsof the PersonalEditionor the Professional
Edition,exclusiveof those set forth in Section2(B) above,shallbe ten percent(10%) of OEM's
GrossRevenuesreceivedfromlicensingcopiesof the OEM Applications.In the eventan OEM
Applicationis bundledfor saleor licensewith other productsor applications,the royaltyshallbe
basedonlyupon those GrossRevenuesattributableto the OEMApplication.The foregoingroyalties
shallbe prepaid,as describedbelow. No royaltyshallbe payablefor copiesof OEM Applications
incorporatingRuntimeVersionsof the PersonalEditionor ProfessionalEditionwhichare used for
product development,demonstrationor testingpurposes,or for internalpurposesof OEM whereno
revenueis received;provided,however,that OEMagreesthat it willnot distributeOEM Applications
withoutcharge,exceptfor evaluationcopies,error correctionsandthe likethat are distributedto
OEM'slicensees.


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                     ii.   Prepayments.Upon executionof this Agreement,OEM shallprepayto POET
     royaltiesin the amountof $50,000,whichamountshallbe creditedagainstactualroyaltiesbased on
     GrossRevenues,as describedabove,that are due and payableto POET until actualroyaltiesreach
     the amountof suchprepayment.Whensuchprepaymentis fullyexpended(i.e., the royaltiespayable
     to POET equalthe amountof the prepayment),OEM shalldepositwithPOET anotherprepaymentof
     $50,000to be creditedagainstactualroyaltiessubsequentlydue and payableto POET for Runtime
     Versionsof the PersonalEditionand the ProfessionalEdition, Likewiseeachtime a prepaymentis
     expended,so long as this Agreementis in effect,OEM shalldepositan a(.j.ditionalprepaymentin the
     amountof $50,000to be creditedagainstactualroyaltiesdue and payableto POET for Runtime
     Versionsof the PersonalEditionand the ProfessionalEditionuntil suchtime as $1,000,000has been
     pa.idin accordancewiththis Section2(C)(ii),afterwhichtime no furtherprepaymentsshallbe due
     (but royaltiesshallcontinueto be due untilthe licenseis fully-paidin accordancewith the tenns of
     Section2(E)). OEM shallremitany such prepaymentor royaltypayment,as applicable,to POET
     with the next quarterlyreport that OEM submitsafter suchdate, as requiredunder Paragraph3
     below.

             D.       LicensesofODBCDriver
            OEM shallpay, upon executionof the First Amendedand Restated SoftwareOEMLicense
     Agreement,a one-timeroyaltyof$20,000 for the fully-paidright and licenseto distributean
     unlimitednumberof copiesof the currentversionof POET'sODBCDriver softwareas part of the
     OEM Applications.The royaltyfor unlimiteddistributionrightsof eachUpgradeto such software,
     whenavailableand acceptedby OEM in accordancewith Section5(B), shallbe $7,500,whichshall
     be due and payableupon.acceptanceof suchUpgradeby OEM.

             E.       Acljustment
                               ofRczyalty
                                       Rate'FullyPaidLicense
              Oncetotal royaltiespa.idunderthis Agreementfor all copiesof RuntimeVersionsof the
     LicensedSoftwarereach $1,000,000,the royaltiesand Upgradefees payableby OEMwith respectto
     RuntimeVersionsof the PersonalEditionand the ProfessionalEditionshallbe adjustedas provided
     in this Section2(E). Initially,OEM'sroyaltyrate or Upgradefee as a percentageof Gross Revenues
     due for copiesof RuntimeVersionsof the PersonalEditionand the ProfessionalEdition,including
     whenincorporatedin a Single-UserDevelopmentTool, shalldrop to the correspondingpercentage
     set forth on the chart below. Once cumulativeroyaltiespa.idby OEMto POET for all copiesof
     RuntimeVersionsof the LicensedSoftwarereach $9,000,000,no further.royaltieswillbe due under
     this Section2 with respectto distributionof OEMApplicationsincorporatingany RuntimeVersionof
     the Personal Editionor ProfessionalEdition,or Upgradesthereto, and the distributionlicensefor all
     OEM Applicationsand Upgradesincorporatingthe RuntimeVersionsof the PersonalEditionand
     ProfossionalEditionwillbecomefullypa.idand unlimited,




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                                                          RoyaltyRate as a
                                    TotalRoyalty           Percentageof
                                     Payments                Revenue
                                      $1,000,000                2%
                                      $2,000,000                1%
                                      $5,000,000                .5%
                                      $9,000,000                0%

3.        REPORTSAND PAYMENT:

        OEM shallkeep recordsof the numberof copiesof each OEM Applicationmade and
distributedby OEM or reported by its Sublicensees,includingwhicheditionof the LicensedSoftware
is incorporatedwithinsuch OEM Application,and anyUpgradesdistributedin accordancewith
SectionS(D)(i),(ii) and (iii). On or beforethe thirtiethday after the end of each calendarquarter
duringthe term of this Agreement,and thereafteruntil all copiesof the OEM Applicationsthat OEM
or its Sublicenseeshave distributedhave been accountedfor, OEM shalldeliverto POET (i) a report
detailingthe numberof copiesof the OEM Applicationmadeby OEM or its Sublicenseesduringthe
previousquarter and identifyingwhicheditionof the LicensedSoftwareis incorporatedwithinsuch
copiesand (ii) a report of the GrossRevenuesreceivedby OEM duringsuch previousquarter on
account of distributionof copiesof the OEM Applicationincorporatingthe PersonalEditionor the
ProfessionalEditionof the LicensedSoftware(whichshallbe separatelystated). When submitting
such reports, OEM shallpay the applicableroyaltiesfor whichno prepaymenthas been made.

4,        AUDITRIGHTS:

       OEM agreesto maintain,untiltwo (2) years after the transactionsto whichthey pertain,all
records requiredto be kept by OEM pursuantto Section3. OEM willpermitPOET'sindependent
auditor, reasonablyacceptableto OEM and subjectto the executionof OEM's standardform of
confidentialityagreement,the right to audit and examinesuch records duringOEM'snormalbusiness
hours to verifythe accuracyof the fees paid hereunder. Suchinspectionsshallnot take place more
frequentlythan once each calendaryear and shallbe madeupon reasonablenotice. If any such
examinationdisclosesa shortfallin paymentto POET of more than fivepercent (5%) for the period
audited,OEM agreesto reimbursePOET for the reasonablecosts assessedby POET's independent
auditorfor performingsuch audit,

5.        SUPPORTCHARGES.

          A         Technical
                           SupponforDevelopment
                                             KitVersjon
      POET acknowledgesthat OEM has paid the fees for TechnicalSupport for the period from
executionof this Agreementthrough August 1, 1996. The annualfee for telephonicand electronic
support shallbe $2,000per namedcaller,commencingAugust 1, 1996. The annualfee for

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      MaintenanceReleasesshallbe $750for eachcopy of the DevelopmentKit Versionof the
      ProfessionalEditionand $150for eachcopy of the DevelopmentKit Versionof the PersonalEdition.

           Providedthat OEMpurchasesMaintenanceReleaseshereunder,no fee shallbe assessedupon
      OEM'sdistributionof anyRuntimeVersionsof MaintenanceReleases.

                B.           UpgradesQenerally
             POET willdeliverto OEMan evaluationcopy of anyUpgradeto anyLicensedSoftware
      licensedhereunderpromptlyupon its availability.OEMwillhave 60 daysto test and evaluatesuch
      Upgradeand determinewhetherit wishesto licensethe Upgrade. ln the eventOEM electsto receive
      suchUpgrade,it may purchaseit at POET'sthen currentUpgradefee, or at suchlesserrate as maybe
      agreed,as providedbelow.

                C.        Upgrades
                                forDevelopmentKitVersion
             The Upgradefee for the DevelopmentKit Versionof the ProfessionalEditionis $1,500per
      licensedcopy. The Upgradefee as of the date of the first releaseofan Upgradeto the Development
      Kit Versionof the Personal Editionwill be $300 per licensedcopy.

                D.        Upi:radesforRuntimeVersion
            OEMmayincorporatethe RuntimeVersionof anyUpgradepurchasedpursuantto Section
      S(C)abovein any OEMApplicationdistributedafter the purchaseof suchUpgrade,subjectto OEM's
      paymentof the applicableroyaltywith respectto suchOEMApplication.

            OEMwillpay an Upgradefee for the RuntimeVersionsof the Personal Editionor
      ProfessionalEdition,for anyUpgradedistributedby OEM subsequentto the distributionof an OEM
      Application(and not as part of the initialdistributionof the OEMApplication),as follows:

                          i)      OEMwillpay ten percent(10%)(or suchother rate as is then applicable
                                  pursuantto the termsof Section2(E)) of OEM'sGrossRevenuesreceived
                                  from distributionof Upgradesto OEMApplicationsincorporatingRuntime
                                  Versionsof the PersonalEditionor ProfessionalEditionwhichare not
                                  DevelopmentTools;

                          ii)     OEMwillpay $32.50per copyfor distributionof Upgradesto OEM
                                  ApplicationsincorporatingRuntimeVersionsof the PersonalEditionor
                                  ProfessionalEdition whichare Single-UserDevelopmentToolswhere OEM
                                  assessesa fee (separatefromthat chargedfor maintenanceand error
                                  correction)for the distributionof suchUpgrade;and

                          Hi)     OEMwillpay $87.50per copyfor distributionof Upgradesto OEM
                                  ApplicationsincorporatingRuntimeVersionsof the ProfessionalEditionwhich
                                  are Multi-UserDevelopmentToolswhere OEMassessesa fee (separatefrom

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··-   "---   ~-----                               BRENNER   ➔




                                      thatchargedformaintenance
                                                             anderrorcorrection)forthe distribution
                                                                                                  of such
                                      Upgrade.

                       E.     ili)neral
                     Thefees forTechnicalSupportandUpgradesshallnotbe increasedduringthe firsttwo years
              of thisAgreement.Thereafter,suchfees shallnotincreaseby morethan10%perannum.




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                                                    EXHIBITC


                                  POET'STECHNICAL
                                                SJJJ>PORT
                                                       PQLICIES
      Telephoneand electronicsupportwillbe availableMondaythrough Friday,9:00 AM to 12:00
PM and 1:00 PM to 6:00 PM (PacificTime).

      OEM willreport the problemto POET in writing,preferablyby e-mail,providingas much
infonnationas possibleincludingbut not limltedto the following:

                  (a)        detaileddescriptionsof the problem.

                  (b)        resultsof anytests run by OEM.

                  (c)        test cases, if available.

      Upon receiptof the writtenreport of the problemfrom OEM:,POET willrespondin
accordancewith the followingschedule:

ctassiti1,11tion            t st B&sp1.1nse     2nd Responst       3rd R11spgose     FinalRespgmie
SeverityI                   24 hours*           48 hours•          within3 days**    next release
SeverityII                  48 hours*           within3 daysu      within5 days0     next release
SeverityIII                 3 days0             within10 days**    within20 days**   within2 releases
SeverityIV                  10 days**           within20 days**    within40 days**   within2 releases
Allothers                   10 days             na                 na                na

•  Onlyif receivedon a businessday (MondaythroughFriday)between9:00 AM and 5:00 PM,
   PacificTime. Otherwise,time commenceson the followingbusinessday.
** BusinessDays (MondaythroughFriday).

       Classificationofproblemswillbe assignedby OEM and confirmedby POET. POET may
reclassifythe problembased on POET'stechnicalanalysis. In the eventthat POET and OEM
disagreeon the priorityof a specificproblero,both partieswilluse commerciallyreasonableeffortsto
resolvethe disagreementin a fair fashion. POET willnot changethe priorityof a problemthat OEM
reasonablydesignatedas "SeverityI Level'' OEM willact in good faithto managethe prioritization
process so that "SeverityI Level"designationsare used in an appropriatemanner.

         The responsescheduleis definedas follows:

            (a)   FirstResponsemeansthat POET willprovidewritten acknowledgmentof the
problemto OEM withinthe time specifiedabove.

             (b)   SecondResponsemeansthat POET will analyzethe problemand use
commerciallyreasonableeffortsto detenninethe cause of the problemwithinthe time specified
above.
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              (c)    ThirdResponsemeansthat POET willuse commerciallyreasonableeffortsto
providea resolutionto the problemwithinthe time specifiedabove.

             (d)    Final Responsemeansthat POET willincorporatethe resolutionto the
problemin a MaintenanceReleaseaccordingto the releasescheduleshownabove. Generallya Final
Responseshalloccur no soonerthan the correspondingThirdResponse. POET will,however,use
commerciallyreasonableeffortsto accommodateOEMs releasescheduleevenif that schedulemay
requireresponsetimesthat are soonerthan those outlinedin the abovetable.

       POET willprovidemonthlywrittenreports on the status of problemsreportedby OEM

        "ErrorSeverityLevel"shallmeanclassificationsof Errors accordingto the following
definitions:

             (a)     "SeverityI ErrorLevel"shallmeana problemin criticalfunctionality
withouta work around;an emergencyconditionthat causesthe end user to be unableto use the
programand that has a criticalimpacton suchend user'soperations. This conditionrequiresan
immediatesolution.

                (b)    "SeverityIl ErrorLevel"shallmeana problemin criticalfunctionalitywith a
work around;that i.s,a conditionwhichseverelyrestrictsthe end user's operationsbut such end user
can continueto use the programalthoughit makesthe performanceof any one or more functions
difficult. This problemcannotbe readilycircumventedor avoidedon a temporarybasisby the end
user and requiresa rapid solution.

              (c)    "Severitym ErrorLevel"shallmeana problemin non-criticalfunctionality
without a work around;that is, a limitedconditionthat cannotbe readilycircumventedor avoidedon
a temporarybasisby the end user.

              (d)    "SeverityIV ErrorLevel"shallmeana problemin non-criticalfunctionality
with a work around;that is, a minorconditionthat can be readilycircumventedor avoidedon a
temporarybasisby the end user.

               (e)     "Requestfor Enhancement"shallmeanany requestpresentinga condition
with lesser severitythan SeverityIV.




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                                             EXHIBITD

                                      ESCROW
                                           AGBEEMENT
       The escrow agreementis attachedand will be modifiedby SourceFileand POET as
follows:

       Section4, part (i) of the agreementwillbe modifiedby addingthe followingat the end
thereof:

      The noticefromBen.eficiary   mustbe in the formof a certificatesignedby an officerof
Beneficiarycertifyingthat a ReleaseConditionin the licenseagreementbetweenDepositorand
Beneficiaryhas occurred.

         Section4, parts (iii)and (iv) will be deletedand replacedwith the following:

        (iii) SourceFileshalldelivera copyof the SourceMaterialto Beneficiarypromptlyafter
receiptof the officer'scertificatedescnoedin Section4, part (i) aboveand does not need to wait to
see if Depositorshalldelivera writtennoticeto SourceFilestatingthe ReleaseConditionhas not
occurredor has been cured. Depositorand Beneficiaryherebyacknowledgethat if Depositor
believesthat the ReleaseConditionhas not occurredor has been cured, neitherDepositornor
Beneficiaryshallhold SourceFileliablefor wrongfulreleaseof the SourceMaterial,if the conditions
for releasestated in Section4, part (i) abovehavebeen met, and furtheracknowledgethat Depositor
and Beneficiaryhave created,in the aforementionedlicenseagreement, a mechanismfor settlingany
such disputebetweenthemby arbitrationafterthe fa.ctof releaseof the SourceMaterial.




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                                        V

                                               ECHELONCORPORATION
                                             POETSOFTWARECORPORATION

                                       AMENDMENTTO
                   FIRSTAMENDEDAND RESTATEDSOFTWAREOEMLICENSEAGREEMENT

                    This Amendment(the "Amendment")to the First Amended and Restated Software OEM License
           Agreement, entered into as of December 11, 1995, (the "Agreement") is entered into as of October I, 1999         I,
           (the "Effective Date") by and between Echelon Corporation ("OEM") and POET Software Corporati.on
           ("POET").

                  Whereas, POET and OEM entered into a SoftwareOEM License Agreement, executed on
           December J \, 1995, (the "Prior Agreement") and whereas the Prior Agreement was supersededby the
           Agreement, now, the parties agree that the Agreement is hereby amended as follows:

           I.        Ru.ntimeVersionRoyaltyPrepaymen.t.On or before December 31, 1999, OEM shall pay to
           POET a nonrefundableroyalty prepayment of two hundred thousand dollars ($200,000) (the "Special
           Prepayment"). After the Special Prepayment is made, POET agrees that OEM shall then.have a net
           prepaymentbalance of royalties under this Agreement of two hundred nineteen thousand eight hundred
           thirty four dollars ($219,834), Actual royalties shall be credited against such net prepayment as set forth in
           Section 2.C(ii) of Exhibit B to the Agreement, OEM shall not owe 1111yadditional prepaymentsto POET
           until the net pre-paymentunder the A1,>Teement, including,without limitation, the Special Prepayment,has
           been fully expended.

           2,       Changeto RoyaltyRate from RuntiroeVersions.Exhibit B, Section 2,C(i), of the Agreement is
           hereby modified so that the royalty payable to POET for distributionof OEM Applications shall be 7,5%,
           instead of 10% effective as of October I, 1999.

           3.       Change to Adjustment of Royalty Rate; Fully Paid License. TI1ethird sentence of Exhibit B,
           Section 2.E, of the Agreement is hereby modified so that the cwnulative royalty threshhold i$ $8,500,000,
           instead of $9,000,000, 17Jcchart at the end of this Section is hereby deleted in its entirety and is hereby
           replaced with the following:

                             GraduatedRuntimeVersionRoyaltySchedule

                             TotalRoyaltyPayments                          Royalty Rate as a
                             From          to                              Percentageof Revenue
                             $0                $61,783                             10.0%
                             $61,784           $1,000,000                          7.5%
                             $1,000,00!        $2,000,000                           1.5%
                             $2,000,001        $5,000,000                           0.75%
                             $5,000,001        $8,500,000                           0.375%
                             $8,500,001        Unlimited                            0%

           4,       Relationshipto Agreement,All capitalized terms used herein but not defined herein have the
           meaning for such term provided in,the Agreement. This Alll.endment$hall be governed by and sul:\jectin all
           respects to the terms of the Agreement; however, in the event ofa:ny conflict between the Agreement and
           this Amendment,the te= oftbis Amendment 1hall control.

           5.         Entire Agreement,The Agreement and this Amendment;et forth the entire Agreement and
                           between the partie; as to lhe subject matter of such documents and merges all prior
           lll'.lderstanding
           discussions,Without limitingth• foregoing, all correspondenceprepared or exchanged in anticipationof
           this Amendm.entis expressly superseded, Except as specified in this Arrrend.ment,the Agreemc'lltremains
           in full force and effect.




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   In Witnesswhereo,f.the partieshereto have duly executed.this Amendment.

                                                    ECRELONCORPORATION
                                                    By:      t)c_ ;1          /yCjd
                                                    Name: () L , v "'in.           (l,   -S .---ArJ F t 'i::,c,,i)

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                                                         ECHELONCORPORATlON
                                                       POETSOFTWARECORPORATION

                                              AMENDMENTNO. 2 TO nm
                            FIRSTAMENDEDAND RESTATEDSOFTWAREOEMLICENSEAGREEMENT
                                                     AND TO THE
                           AMENDMENTNO. l TO THE FIRSTAMENDEDANDRESTATEDSOFTWAREOEM
                                                LICENSEAGREll:MENT

                            This Amendment No. 2 to the First Amended and Restated Software OEM License Agreement
                    ("AmendmentNo. 2") is entered in.toas of April l, 2001 (lhe "Effective Date") by and between Echelon
                    Corporation ("OEM") and POET Soltware Corporation ("POET").

                             Whereas. POET and OEM entered into a Software OEM License Agreement (the "Prior
                    Agreement") executed on December 11, 1.995,a First Amended and Restated Software OEM License
                    Agreement (the Agreement") effective on December I J, 1995 that superceded the Prior Agreement, and an
                    Amendment No. I to the First Amended and Restated Soltware OEM License Agreement ("Amendment
                    No. 1") executed c:,nOctober I, 1999, now the parties agree as follows:

                     I.       RuntimeVersionRoyaltyPrepayment,On or before June 29, 2001, OEM shall pay to POET a
                    nonrefundable royally prepayment of two hundred fifty thousand dollars {$250,000) (the "Special
                    Prepaymem"). After the Special Prepayment is made, POET agrees that OEM shall then have a net
                    prepayment balance of royalties under this Agreement of two hundred eighty five thousand five hundred
                    thirty three dollars ($285,533). Actual royalties shall be credited against such net prepayment as set forth
                    in Section 2.C.(ii) of Exhibit )3 to the Agreement. OEM shall not owe any additional prepayments to POET
                    until the net prepayment under the Agreemen\ including, without limitation, the Speci.alPrepayment, has
                    been fully expended.

                    2.       Change to Royalty Rate from Rull!ime Versions. E~bit l3, Section 2.C (i), ofth• Agreement
                    is hereby modified so that the royalty payable to POET for distribution of OEM Application.sshall be 5%
                    instead of7.5%, effective as of April I, 2001.

                    3.       Changeto Adjnstmentof RoyaltyRate; Fully PaidLitensc, The third sentenc~ ofExhihit B,
                    Section 2.E, of the Agreement is hereby modified so that the cumulativeroyalty threshold is $8,250,000
                    instead of$8,S00,000. 11le ch;u1at the end of this Section is hereby deleted in its entirety and is hereby
                    replaced with the following:

                                         GraduatedR.nntimeVersionRoyaltySchedule

                                         Total.RoyaltyPayments                     RoyaltyR.ateas a
                                         From           To                         Percentageof Revenue
                                         $0             $61,783                             10.0%
                                         $6.1,784       $206,698                            7.5%
                                         $206,699       $1,000,000                          5.0
                                         $1,000,001     $2,000,000                          1.0%
                                         $2,000,001     $5,000,000                          0.5%
                                         $5,000,001     $8,250,000                          0.25%
                                         $8,250,00 l    U11limited                          0%

                    4.       Relationshipto Agreement,All capitalized te!UlS used herein bnt nOI defined herein have the
                    meaning for such term provided in the Agreement. Trus Amendment No. 2 shall be g,ovemedby and
                    subject in all respects lo the tcnns of the Agreement; however, in the event of any conflict between the
                    Agreement or Amendment No. I, and this Amendment No. 2, the terms of this Am;ndment No. 2 shall
                    control.




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                5.       Entire Agreement.TheAgreement.,AmendmentNo. 1 and this AmendmentNo. 2 set forth the
                entire agreement and understandingbetween the parties as to the subject matter of ~uchdocuments and
                merges all prior disc~sions. Without limiting the foregoing, all correspondenceprepared or exchanged in
                anticipation of this AmendmentNo. 2 is expressly supmeded. Except as specified in this Amendment No.
                2, the Agreement and AmendmentNo. I remAinin full force and effect.


                           In Wimess whereot; the parties hereto have duly executed this Amendment.

                                            CORl'ORATION                         ECHELONCORPORA~~                _.I
                                                                                 By:      If)_h.   ~  /(
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                                                       ECHELONCORPORATION
                                                         FASTOBJECTS,INC.

                                           AMENDM.ENTNO. 3 TO TH.E
                          F'IRSTAMENDEDAND RESTATEDSOFTWAREOEM LICENSEAGREEMENT
                                                  ANDTO
                                       AMENDMENTSNO. I AND NO. 2 TO THE
                          F'IRSTAMRNDEDAND RESTATEDSOFTWAREOEM LICENSEAGREEMENT


                         This AmendmentNo. 3 to the First Amendedand RestatcdSoftwareOEM LicenseAgreement
                  ("AmendmentNo. 3") is enteredint<>
                                                   as of Januaryl, 2004 (the "EffectiveDate") by and betweenEchelon
                  Corporation("OEM")and FastObjects,Inc. ("Fa,tObjects").

                           Whereas,fa.qObjccts(previouslyknownas Poet SoftwareCorporation)and OEM enteredinto a
                  SoftwateOEM LicenseAb"cement(the "Prior Agreement'')executedon De,ember l l, 1995,a First
                  Amendedand RestatedSoftwareOE:MLicenseAgreement("the Agr~ement")effective011 DecemberI I,
                  1995that supcrcededthe Pri.orAgreen1e11t,an AmendmentNo. l to the Fil'stAmendedand Restated
                  SoftwareOEMLicenseAgreement(';AmendmentNo, l") effectiveon October l, 1999,and an
                  AmendmentNo, 2 to the First Amendedand RestatedSoftwareOEM LicenseAgreement("Amendment
                  No. 2") effectiveon April.I, 2001, nowthe partiesagree as follows:

                  l.      RuntimeVersi(lnRoyaltyPrepayment.On or betl)l'eMarch 5, 2004, OEM shall pay to
                  FastObject~a nonrefundableroyal.typrepaymentof llne hundNdfifty thousanddollars($150,000)(the
                  "SpecialPropayrne.nt").A~er the SpecialPrepaymemis madc, J'astObjectsagreesthat OEM shallthen
                  have a net prepaymentbalanceof royaltiesunderthb Agreemen.tof two hundredten thousandsix hu.nd.red
                  firtysevendollars($210,657). Actualroyaltiesshallbe creditedagsinst such oet prepaymentas set forth in
                  Section2.C.(ii)of ExhibitB Lothe Agreement.OEM shall not owe any additionalroyahypaymentsto
                  FastObjectsuntilthe net prepayme11t
                                                    underthe Agreement,including,without limitation,the Special
                  Prepayment,has beenreducedto zero as a rl'Sllltof creditingroyaltiesdue,

                  2,      Changeto the RoyaltyRate from RuntimeVersions.ExhibitB, Section2,C (i), oftbe
                  Agreementis herebymodifiedso that th~ royaltypayableto rastObjects for distriblltionof OEM
                  Applicationsshall be 2.5% insteadof 5%, effectiveas of January 1, 2004.

                  3,      Changelo the GraduatedRuntimeVersionRoyaltySchedule. The chw1at the end of Exhibit
                  B, Section2.E, ofthe Agreementis herebydeletedin its entiretyand is herebyreplacedwith the foll.owing:

                                   GraduatedRuntimeVersionRoyaltySchedule

                                   TotalRoyaltyPayments                        RoyaltyRateas a
                                   From          To                            Pereentngeof.Revenue
                                   $0            $61,783                              10.0%
                                   $61,784       $206.698                              7.5%
                                   $206,699      $639,344                              5.0%
                                   $639,345      $1,000,000                            2.5%
                                   $1,000,001    $2,000,000                            1.0%
                                   $2,000,001    $5,000,000                            0.5%
                                   $5,000,00I    $8,250,000                            0.25%
                                   $8,250,001    Unlimited                             0%

                  4.       Relationshipto Agreement.All cap.itafacdterm.sused hereinbut 1101definedhereinhavethe
                  meaningfor suchte1111  providedin the Agreement.This A111end111cnt No. 3 shall be governedby and
                  subject in a11respectsto the termsof the Agreen,ent;however,in the event of any cooflict llctweenthe
                  Agreement,AmendmentNo, I or A111endment      No. 2, and this AmendmentNo. 3, the terms oftl1is
                  AmendmentNo. 3 shullcontrol.



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    5.       EntireAgreemtllt,The /\g1·eeme11t.AmendmentNo. I, AmendmentNo. 2 and this Amendment
    No. J set forth the entireagre~mentand understandingbeiweenthe partiesas to the subj0c1matteror such
    documentsand mergesall prior discussions.Withoutlimitingthe foregofog,all correspondencepreparedor
    exchangedin anticipationof this AmendmentNo. 3 is expresslysuperseded. Exceptas specifiedin this
    AmendmentNo. 3, the Agreement,AmendmentNo. 1 illldAmendmentNo. 2 remainin full force and
    effect.


            In Witnesswhereat; the partieshereto haveduly executedthis Amendment.




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                                                                      Greg J. Cannon

                                                                     Financial Controller
                                                                           6/26/2017 | 22:39 PDT




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